Case 5:09-cr-00015-BJB Document 674 Filed 03/25/11 Page 1 of 11 PageID #: 3192




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                                PADUCAH DIVISION
                              CASE NO. 5:09-CR-00015-R

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.

RODNEY EDWARD MOORE, et al.                                                     DEFENDANTS


                         MEMORANDUM OPINION AND ORDER

       This matter comes before the Court upon Defendant Rodney Edward Moore’s Motion for

Judgment of Acquittal or For a New Trial (DN 633). Plaintiff has responded (DN 640) and

Defendant has replied (DN 643). Defendant has also supplied a supplemental memorandum in

support of his motion (DN 636). This motion is now ripe for adjudication. For the reasons that

follow, Defendant’s Motion is DENIED.

                                       BACKGROUND

       Defendant Rodney Edward Moore was arrested following a lengthy investigation by the

Drug Enforcement Administration (DEA) and local law enforcement officers into the sale of

crack cocaine in Hopkinsville, Kentucky. On January 18, 2001, following a six-day trial, a jury

found him, along with two other defendants, guilty of conspiracy to possess and distribute fifty

grams or more of crack cocaine (violation of 21 U.S.C. §§ 841(b)(1)(A), 846). During the trial,

evidence from a variety of sources was presented against Moore in support of the conspiracy

charge. This included testimony from a number of his accomplices, drugs and drug

paraphernalia seized in a search of his apartment by law enforcement, and testimony from

Special Agent Darren Atkins from the DEA.


                                                1
Case 5:09-cr-00015-BJB Document 674 Filed 03/25/11 Page 2 of 11 PageID #: 3193




       Moore now moves, through counsel, for a judgment of acquittal or for a new trial.1 As

the basis for his acquittal, Moore first claims that no reasonable jury could have concluded that

the Government met its burden of proof at trial. Alternatively, Moore says that the Government

failed to comply with the Jencks Act and therefore a new trial should be ordered. Also, in his

supplemental memorandum, Moore asserts that during his cross examination, Atkins testified

about a confidential source employed by the DEA during their investigation, Missy Jackson.

Moore offers that under questioning from defense counsel, Atkins said that Jackson had revealed

that Moore “cooked” crack for the charged conspiracy. He now claims that such testimony was

in violation of his Sixth Amendment rights under the Confrontation Clause, and therefore

grounds for reversal of his conviction.

                                            ANALYSIS

       I. Judgment of Acquittal

       On the defendant’s motion, even after a guilty verdict by the jury, a court may enter an

order of acquittal “if the evidence is insufficient to sustain a conviction.” Fed. R. Crim. P. 29(a),

(c). “A defendant making such a challenge bears a very heavy burden.” United States v. Tocco,

200 F.3d 401, 424 (6th Cir. 2000). In examining the proof presented at trial, the court “must

decide whether, after viewing the evidence in a light most favorable to the government, any

rational trier of fact could have found the essential elements of the crime beyond a reasonable

doubt.” United States v. Gardner, 488 F.3d 700, 710 (6th Cir. 2007). The court must refrain




       1
         This motion was made and responded to without the aid of a trial transcript, which was
unavailable so soon after the trial. The Court has however had the benefit of reviewing the
transcripts in deciding the instant motion.

                                                  2
Case 5:09-cr-00015-BJB Document 674 Filed 03/25/11 Page 3 of 11 PageID #: 3194




from considering witness credibility, weighing the evidence, or substituting its own judgment for

that of the jury. United States v. Chavis, 296 F.3d 450, 455 (6th Cir. 2002)).

       In short, the evidence arrayed against Moore at trial was overwhelming and convincing.

No fewer than seven witnesses provided direct testimony about Moore’s involvement in the

conspiracy and the trafficking of drugs in and around Hopkinsville. Government witness

Demetrius Williams said at trial that Moore cooked approximately twenty kilograms of cocaine

into crack. He also testified that he provided this cocaine to Moore on credit, deferring payment

until the crack could later be sold. Lartavious Banks and Ronnie Whaley, also Government

witnesses, confirmed much of Williams’s testimony. They claimed to have either delivered

cocaine to Moore’s residence to be converted into crack or witnessed Moore actually cooking

the cocaine. Finally, law enforcement officers offered into evidence both powder and crack

cocaine seized from Moore residence during the investigation. These officers further provided

Moore’s own statements to them that the narcotics seized from his apartment were his, and that

he indeed cooked cocaine into crack.

       Applying the rigorous standard of Rule 29 to the instant matter, it is clear that this motion

is improper. For a conviction under section 846 of the federal criminal code, the Government

must prove the existence of a drug conspiracy and that the defendant participated in the

conspiracy. Any number of items from the above-described evidence could have persuaded the

jury as to Moore’s guilt. While Moore is correct that there were several inconsistencies in the

testimony offered, the vast majority of the evidence against him supported the jury’s final

conclusion: that he was involved in criminal conspiracy to distribute large quantities of crack




                                                 3
Case 5:09-cr-00015-BJB Document 674 Filed 03/25/11 Page 4 of 11 PageID #: 3195




cocaine. As the Court finds that there was sufficient evidence for a reasonable trier of fact to

return a conviction against Moore, this motion is DENIED.

       II. New Trial

       Moore next argues that he is entitled to a new trial on two separate bases under Federal

Rule of Criminal Procedure 33. See Fed. R. Crim. P. 33(a). He first sets out allegations that the

Government failed to comply with the requirements of the Jencks Act and provide him with

certain statements made to Atkins prior to trial. Moore also contends that testimony offered by

Atkins on his cross examination concerning statements made by confidential informant Missy

Jackson violated his Sixth Amendment rights. The Court will address each in turn.

               a. Jencks Act

       With regard to the Jencks Act, Moore specifically charges the following violations. He

declares that during Atkins’s cross examination, he “offered testimony as to what [Jackson] told

him about Moore’s alleged involvement in the conspiracy.” DN 633 at 2. Moore insists that by

virtue of this testimony, the Government was required to produce any statements or reports that

had memorialized Jackson’s discussions of Moore and his activities. Moore further cites issues

with Government witness Ronnie Whaley. He claims that before trial, Whaley made a proffer to

Atkins, in which he claimed that he did not know for whom Moore was cooking crack. At trial

however, Whaley offered somewhat different testimony, saying that he presumed that Moore

was cooking cocaine into crack for Demetrius Williams, the ringleader of the criminal

conspiracy. In this motion, Moore argues that the contradictory proffer statement should have

been disclosed after Whaley testified.




                                                 4
Case 5:09-cr-00015-BJB Document 674 Filed 03/25/11 Page 5 of 11 PageID #: 3196




       Government counters that Moore’s objections are without merit. It says that Jackson’s

statements elicited from Atkins were on his cross examination and therefore not implicated by

the Jencks Act. Even ignoring this, the Government advances that the statements by Jackson

were in fact disclosed to defendants well before the trial. Regarding Whaley’s pretrial

statements, the Government argues that Atkins did not testify about the proffer and that the notes

he took during his interview with Whaley were never shown to or adopted by the witness.

Consequently, the Government claims that “for Jencks purposes, therefore, it was not a statement

by Whaley, but by Atkins” and since he “did not testify about it during his direct testimony, the

Jencks Act did not apply.” DN 640 at 4. It also avers that Whaley’s statements were not

exculpatory, as they did not deny Moore’s involvement in the overall conspiracy.

       “The purpose of the Jencks Act itself was to restrict a defendant's right to any general

exploration of the government's files.” United States v. Nickell, 552 F.2d 684, 688 (6th Cir.

1977). Section 3500(b) of the Jencks Act lays out the following obligations for the Government

in a criminal matter:

       After a witness called by the United States has testified on direct examination, the
       court shall, on motion of the defendant, order the United States to produce any
       statement (as hereinafter defined) of the witness in the possession of the United
       States which relates to the subject matter as to which the witness has testified. If the
       entire contents of any such statement relate to the subject matter of the testimony of
       the witness, the court shall order it to be delivered directly to the defendant for his
       examination and use.

18 U.S.C. § 3500(b). A “statement” under the Jencks Act is defined as follows:

       The term “statement”, as used in subsections (b), (c), and (d) of this section in
       relation to any witness called by the United States, means --
               (1) a written statement made by said witness and signed or otherwise adopted
               or approved by him;
               (2) a stenographic, mechanical, electrical, or other recording, or a
               transcription thereof, which is a substantially verbatim recital of an oral


                                                  5
Case 5:09-cr-00015-BJB Document 674 Filed 03/25/11 Page 6 of 11 PageID #: 3197




               statement made by said witness and recorded contemporaneously with the
               making of such oral statement; or
               (3) a statement, however taken or recorded, or a transcription thereof, if any,
               made by said witness to a grand jury.

Id. § 3500(e)(1)-(3).

       In addressing Jackson’s statements, the Court concludes that Government did not violate

its obligations under the Jencks Act. It stated unambiguously in its response to this motion that

these materials were disclosed before trial, albeit absent Jackson’s identity. Moore’s reply did

not refute this contention; consequently, the Court assumes that this is an accurate

characterization of the facts, and this portion of Moore’s motion is therefore flawed. Regarding

the objections surrounding Whaley, the Court finds that the materials that Moore is requesting do

not fall under the definition of “statement” as provided for in the Jencks Act. See id. As both

subsection (2) and (3) of section 3500(e) are inapplicable to this matter, Atkins’s notes of the

Whaley interview are only impacted by the Jencks Act if they were “adopted or approved by

[Whaley].” Id. § 3500(e)(1). Under the adoption test, “a government report or notes of a

witness’ statement must be produced ‘if the notes from the interview were read back to and

verified by the witness and if the report summarized the notes without material variation.’”

United States v. Howard, 150 F. App’x 476, 480 (6th Cir. 2005) (quoting United States v.

Farley, 2 F.3d 645, 654 (6th Cir. 1993). Government has expressly denied that Whaley was ever

shown or read the notes from his interview; nor did Atkins testify about the proffer session in his

direct testimony. Since Moore does not provide a divergent narrative in his reply, the Court is

inclined to accept the Government’s version of events. Ergo, these notes cannot be a statement

subject to disclosure under these statutory provisions.




                                                 6
Case 5:09-cr-00015-BJB Document 674 Filed 03/25/11 Page 7 of 11 PageID #: 3198




         Assuming that the Government was obligated to produce these items, the Court believes

that such non-disclosure is harmless error. The rules of criminal procedure say that any harmless

error “that does not affect substantial rights must be disregarded.” Fed. R. Crim. P. 52(a). In

United States v. Susskind, 4 F.3d 1400 (6th Cir. 1993), this circuit set out the pertinent

framework in examining a trial court’s mistakes in imposing the Jencks Act’s requirements:

         Mistakes in the application of the Jencks Act are unquestionably subject to harmless
         error analysis, although courts must not speculate on whether Jencks Act statements
         could have been used effectively at trial and the harmless-error doctrine must be
         strictly applied in Jencks Act cases. Whether an error committed at trial is harmless
         depends on whether the error is one that might reasonably be thought to have had
         substantial and injurious effect or influence in determining the jury verdict. The
         strength of the evidence of guilt can be an important factor in this calculus. Because
         the Jencks Act is not constitutionally required, finally, a court need not find a Jencks
         Act error harmless beyond a reasonable doubt in order to uphold a conviction.

Id. at 1406 (internal citations and quotation marks omitted). Accepting Moore’s arguments

momentarily, the Court believes that the strength of the Government’s evidence was simply too

great to be impacted by the disclosure of these items. Candid testimony from a number of

different witnesses established his connection to the criminal conspiracy. This evidence was

further corroborated by the narcotics seized in his apartment and his own inculpatory statements

to law enforcement officers. If there were violations of the Jencks Act, of which this Court is

highly dubious, the items discussed in Moore’s motion would not have changed the outcome of

his trial.

                b. Confrontation Clause

         Moore also asserts that since his Sixth Amendment rights under the Confrontation Clause

were violated, the Court should grant a new trial under Rule 33. In his motion, Moore recounts

that during Atkins’s cross examination by counsel for defendant Lamont Dunbar, he testified



                                                    7
Case 5:09-cr-00015-BJB Document 674 Filed 03/25/11 Page 8 of 11 PageID #: 3199




about statements Jackson made to him concerning Moore’s conspiratorial activities. The

testimony to which Moore has alluded is as follows:

       Question by Counsel for co-defendant Lamonte Dunbar: Sir, if I may, I want to
       follow up on a few questions, and you forgive me. I'm going to kind of go in reverse
       order here. That way I can kind of remember a little better.
               Did you just testify that Missy Jackson gave no information on these three
       defendants that they were dealing in crack? Did you just testify to that?
       Answer by Agent Atkins: No, sir, I don't believe I did.
       Q: What did you testify to? What did she tell you about these three defendants? I
       thought you said she gave no information that she could buy from these three
       defendants or knew of their crack dealing.
       A: I said buy from those defendants as part of your -- what you just read.
       Q: Okay.
       A: I never said, that I'm aware of, that I remember that she didn't provide information
       about them involved in crack.
       Q: Okay.
       A. But the question as I understood it was if she said she could ever buy from them,
       and the answer to that is no.
       Q: Fair enough. Okay. What did she tell you about these defendants?
       A: As far as their drug activity?
       Q: Uh-huh.
       A. She stated that Rodney Moore was a crack cook for several organizations, that he
       was a crack cook for Demetrius Williams. She stated that she had been around him
       before when drugs were present. There was one part in the investigation she reported
       --
       Q: When did she make that statement?
       A: I'm sorry?
       Q: When did she make that statement?
       A: It would have been several times throughout the investigation. That would -- I
       don't know of a date or particular time, but his name was mentioned more than once
       throughout the investigation. There was -- to finish answering your question, there
       was specific information that she relayed to Moore -- or to me about Moore. She was
       present when Rodney Moore and Demetrius Williams they gambled together and that
       they were very flippant with their money and they made a thousand --
       ...
       A: -- with their money. And there was a specific example where she said that Rodney
       Moore and Demetrius Williams were together, social setting, they made a bet, a
       $1,000 bet, about one of their cell phones, if the cell phone could withstand a certain
       amount of abuse. And they put that phone under a car tire, ran over it, and it broke
       the phone.
               And according to the CI, that strained the relationship between Mr. Moore
       and Mr. Williams because one of them had to pay the other one $1,000. And after


                                                 8
Case 5:09-cr-00015-BJB Document 674 Filed 03/25/11 Page 9 of 11 PageID #: 3200




       that, Mr. Williams didn't have a crack cook for a while. So there was a little
       difficulty in getting cocaine because of the strained relationship. She reported that
       to me . . . .

DN 663 at 21-23. During his own cross examination, Moore’s counsel questioned Atkins at

length about Jackson’s statements, claiming that the prior testimony required him to “try and

discredit [Jackson] claim’s that Moore was the crack cook for the organization.” DN 636 at 2.

In this motion, Moore admits that he did not offer a timely objection at trial to Atkins’s

statements about Jackson; still, he states that this initial dialogue between Atkins and co-

defendant Dunbar’s counsel was violative of Moore’s constitutional rights. Government

responds that Atkins’s statements could not implicate the Confrontation Clause, since they were

not used for hearsay purposes.

       The Confrontation Clause mandates that, “[i]n all criminal prosecutions, the accused

shall enjoy the right . . . to be confronted with the witnesses against him.” U.S. Const. amend.

VI. The Sixth Circuit has set out the following description of a criminal defendant’s protections

under the clause when confidential informants fail to testify:

       Hearsay is a statement, other than one made by the declarant while testifying at the
       trial or hearing, offered in evidence to prove the truth of the matter asserted. This
       court has held that statements of a confidential informant are testimonial in nature
       and therefore may not be offered by the government to establish the guilt of an
       accused absent an opportunity for the accused to cross-examine the informant. The
       admission of a testimonial statement, however, does not necessarily trigger a
       violation of the Confrontation Clause. To do so, the statement must be used as
       hearsay-in other words, it must be offered for the truth of the matter asserted. We
       must thus determine (1) whether [the informant’s] statement was testimonial in
       nature, and (2) whether it was offered to prove the truth of the matter asserted.

United States v. Gibbs, 506 F.3d 479, 486 (6th Cir. 2007) (citations and quotation marks

omitted).




                                                 9
Case 5:09-cr-00015-BJB Document 674 Filed 03/25/11 Page 10 of 11 PageID #: 3201




        While there is little question that Jackson’s statements are testimonial in nature, they do

not fall within the traditional definition of hearsay because they were not offered by Atkins “to

prove the truth of the matter asserted.” See id. In the testimony set out above, Atkins is

prompted by defense counsel on cross examination to explain exactly what Jackson had told him

about the three criminal defendants. Counsel appears to have been attacking the reliability of

Jackson as a confidential informant, insinuating that she had not explicitly stated that Moore or

the other defendants were involved in the charged drug conspiracy. Whatever his motivations,

defense counsel’s inquiry asked Atkins to specifically recount what Jackson had said about the

defendants’ drug activities. Thus, Atkins was not offering Jackson’s previous narrative for the

truth of the matter asserted; rather he offered the statements to demonstrate that she had actually

given him information on these three defendants and their drug activity. Overall, Atkins was

bolstering Jackson’s credibility by refuting defense counsel’s attacks, not trying to provide her

statements as direct evidence against Moore and the other defendants. Since the statements were

not offered for the truth of the matter asserted, they cannot be hearsay and do not implicate the

protections of the Confrontation Clause.

        Irrespective of this finding, and accepting Moore’s position that the admission of this

testimony was an error, the Court believes that it did not greatly impact the criminal proceeding.

Where a statement is admitted at trial in violation of the Confrontation Clause and the defendant

failed to object, the decision must be reviewed for plain error. United States v. Warman, 578

F.3d 320, 345 (6th Cir. 2009) (citations omitted). To succeed on plain error review, defendants

must show the following: “(1) error, (2) that ‘was obvious or clear,’ (3) that ‘affected defendant's

substantial rights,’ and (4) that ‘affected the fairness, integrity, or public reputation of the



                                                  10
Case 5:09-cr-00015-BJB Document 674 Filed 03/25/11 Page 11 of 11 PageID #: 3202




judicial proceedings.’” Id. Again, the Court believes that the jury’s decision was supported by

ample evidence, and thus Moore cannot meet the third prong of this test. The Government’s

witnesses, Demetrius Williams, Lartavious Banks, Ronnie Whaley, Perry Redd, and Rayshawn

Johnson, all testified about Moore’s involvement with the sale, manufacture, and distribution of

drugs during the conspiratorial period. Law enforcement also introduced the illicit contents of

Moore’s residence and his criminal statements. With such convincing evidence, it cannot be said

that the exclusion of the targeted portion of Atkins’s testimony would have altered the trial’s

outcome. See id. at 347 (even though violation of Confrontation Clause, given the largess of

evidence against defendant, exclusion of the statements would not have affected the trial’s

result); United States v. Jones, 205 F. App’x 327, 342 (6th Cir. 2006) (same).

       Accordingly, Moore’s motion for a new trial under Rule 33 is improper.

                                         CONCLUSION

       For the foregoing reasons, IT IS HEREBY ORDERED that Defendant’s motion (DN

633) is DENIED.




                                                                   March 25, 2011




                                                11
